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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                            Civil Action File No.: 1:21-cv-00135
In re Clearview AI, Inc. Consumer Privacy
Litigation                                  Judge Sharon Johnson Coleman

                                            Magistrate Judge Maria Valdez




PLAINTIFFS’ OPPOSITION TO CLEARVIEW DEFENDANTS’ MOTION TO DISMISS
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                                         INTRODUCTION

       Defendants Clearview AI, Inc. (“Clearview”), Hoan Ton-That, Richard Schwartz, Thomas

Mulcaire and Rocky Mountain Data Analytics LLC (“Rocky Mountain”) (collectively

“Defendants”; Ton-That, Schwartz and Mulcaire, collectively, the “Individual Defendants”) have

taken the proverbial kitchen-sink approach in seeking dismissal of Plaintiffs First Amended

Consolidated Class Action Complaint (the “Complaint”). But none of Defendants’ arguments

changes the fact that Defendants scraped over three billion online images, unlawfully extracted

Plaintiffs’ and class members’ sensitive biometric data from those images and then unlawfully

used and distributed the images and sensitive data for their personal gain. Importantly, Defendants

make no serious challenge to Plaintiffs’ substantive claims, focusing most of their attention on

procedural and legal issues. Where Defendants challenge the substantive claims, they improperly

rely on information outside of the Complaint and otherwise fail to view Plaintiffs’ allegations as

true and in the light most favorable to Plaintiffs. Defendants’ inability to challenge Plaintiffs’

actual allegations is a tacit admission of the propriety of Plaintiffs’ claims.

       Defendants’ procedural and legal challenges fare no better. As a threshold matter, the

Individual Defendants can be held liable for Clearview’s actions, and Clearview can be held liable

for the Rocky Mountain’s actions. Defendants reach a different result only by ignoring Plaintiffs’

allegations and improperly framing the issues. Defendants’ extraterritorial and dormant Commerce

Clause challenges also fail, as they have been soundly rejected at the motion to dismiss stage by

numerous courts. Defendants provide no basis for a different result here. While Defendants devote

a lot of ink to their First Amendment challenge, they fail to acknowledge the simple fact that

Illinois’ Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., regulates conduct

– the collection and use of private information – not speech. To the extent BIPA has any impact



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on speech, its regulations are content neutral and subject to intermediate scrutiny – which the

statute easily withstands. Finally, Defendants’ challenges to the standing of Plaintiffs Roberson,

Vestrand and Hurvitz, again, ignore Plaintiffs’ allegations and the applicable law.

       Defendants created a business intent on violating the privacy of millions of American

citizens with impunity. This Court should deny their motion to dismiss so that the case can move

forward, and they can be held accountable for their wrongful conduct.

                                  FACTUAL BACKGROUND

The Illinois Biometric Information Privacy Act:

       BIPA prohibits a private entity from, among other things, collecting distributing a person’s

biometric identifiers and information without notice and consent. It also prevents an entity from

trading, selling and profiting from that biometric data. See 740 ILCS § 14/15. Biometric identifiers

include a “scan of … face geometry.” 740 ILCS § 14/10. Biometric information is “any

information … based on an individual’s biometric identifier used to identify an individual.” Id. In

enacting BIPA, the Illinois General Assembly recognized the extreme sensitivity and unique nature

of biometrics due to the fact that a person cannot change them if compromised 740 ILCS § 14/5(c).

The Biometric Database

       Without providing notice or obtaining consent, Defendants scraped from the internet three

billion photographs – including photographs of Plaintiffs – and then scanned the face geometry of

each depicted individual to harvest their unique biometric identifiers and information (collectively

“biometrics”). Dkt. 116 ¶¶1, 30, 53, 58-59. Defendants then created a searchable biometric

database (the “Database”) that allowed users to identify unknown individuals by uploading a

photograph. Id. Defendants have, inter alia, distributed, sold and otherwise profited from the




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biometrics they unlawfully collected. Id. ¶¶31, 54-56. Indeed, Defendants have made the Database

available to thousands of entities, public and private – including Illinois entities. Id.¶¶3, 32-33.

The Parties and Class Members

       Plaintiffs are individuals from Illinois, New York, California and Virginia who have

brought statutory, constitutional and common law claims on behalf of members of a nationwide

class and Illinois, California, New York and Virginia subclasses. Id. ¶¶5-13, 65. Photographs of

Plaintiffs’ faces that were taken in, and uploaded to the internet from, each Plaintiffs’ state of

residence are posted online. Id. ¶¶ 44-52. Plaintiffs allege that Defendants have included Plaintiffs’

and class members’ biometrics – extracted from such photographs – in the Database. Id. ¶¶44-52.

       Clearview is a Delaware corporation that created the unlawful Database which it markets

throughout the United States, including in Illinois. Id. ¶14. Ton-That and Schwartz co-founded

Clearview and are the architects of its alleged illegal scheme. Id. ¶¶15-16. They are Clearview’s

CEO and President, respectively, and participated in, authorized and directed Clearview’s

wrongful acts. Id.; see also id. ¶¶37-39. Clearview, through Ton-That and Schwartz, has executed

hundreds of agreements with Illinois entities and sold and profited from Plaintiffs’ and class

members’ biometrics. Id. ¶¶21, 30-31.

       Rocky Mountain is a New Mexico company whose single client was the Illinois Secretary

of State (the “Illinois SoS”) – to which it offered access to the Database. Id. ¶¶18, 22. Clearview

was Rocky Mountain’s parent and had control over and was involved in Rocky Mountain’s alleged

misconduct regarding the biometrics at issue, causing foreseeable injuries. Id. ¶43. Rocky

Mountain was a corporate shell that Ton-That and Schwartz did not capitalize. Id. ¶41. Rocky

Mountain has no employees, assets or products separate from those of Clearview. Id. ¶¶22, 42.




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         Mulcaire is Rocky Mountain’s Vice President and Clearview’s General Counsel. Id. ¶17.

Through Mulcaire, Rocky Mountain fraudulently represented to the Illinois SoS that it was the

sole manufacturer and provider of the Database. Id. ¶39. Mulcaire provided the Illinois SoS with

his personal information in order to be paid for work performed by Rocky Mountain. Id. ¶¶17, 22.

                                              ARGUMENT

I.       Plaintiffs Plead Sufficient Facts to Hold the Individual Defendants Responsible for
         Clearview’s Conduct.

         Defendants claim the Individual Defendants should be “dismissed from this action because

they cannot be held liable for actions they took while acting as officers and employees of

Clearview.” Dkt. 88 at 4. 1 As a threshold matter, Defendants make no claim that the Individual

Defendants cannot be individually liable for Rocky Mountain’s conduct, despite the Complaint

alleging such personal liability. See Dkt. 116 ¶¶39-42. Thus, in all events, the Court should not

dismiss the Individual Defendants from the action.

         As for the Individual Defendants liability for Clearview’s conduct, Defendants incorrectly

frame the issue as one of veil piercing (Dkt. 88 at 4), when the issue is whether the Individual

Defendants personally participated in or authorized Clearview’s tortious conduct. Brandt v.

Rokeby Realty Co., 2004 WL 2050519, at *9 (Del. Super. Ct. Sept. 8, 2004) (emph. added). Under

Illinois and Delaware law 2, the “personal participation doctrine” provides that agents of a limited

liability company or corporation can be liable for torts they participated in or authorized. See RNS

Servicing, LLC v. Spirit Constr. Servs., Inc., 2018 WL 3729326, at *6 (N.D. Ill. Aug. 6, 2018)



1
  Defendants summarily seek dismissal of Mulcaire and Rocky Mountain, claiming lack of personal
jurisdiction. Dkt. 88 at 12. The cursory argument is waived, Crespo v. Colvin, 824 F.3d 667, 673 (7th Cir.
2016), and ignores Rocky Mountain’s and Mulcaire’s ties to Illinois. Dkt. 116 ¶¶17-18, 42. The Court
previously rejected the argument as to Clearview, Ton-That and Schwartz. Mutnick Dkt. 86.
2
  Because Delaware and Illinois law yield the same result, a choice of law analysis is not required. LeClercq
v. Lockformer Co., No. 00 C 7164, 2002 WL 908037, at *5 (N.D. Ill. May 6, 2002).
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(applying Delaware’s personal participation doctrine); People ex rel. Madigan v. Tang, 346 Ill.

App. 3d 277, 284, 805 N.E.2d 243, 250 (2004) (corporate officer not insulated from corporation’s

torts in which he actively participates).

        The Complaint alleges the Individual Defendants’ participation in, and authorization of,

Clearview’s tortious conduct, subjecting them to liability for that conduct. See, e.g., Dkt. 116 ¶¶15-

16 (Ton-That and Schwartz knew of, authorized and directed the alleged wrongful acts and were

architects of Clearview’s illegal scheme to collect and distribute biometrics), 21 (Ton-That and

Schwartz executed agreements on Clearview’s behalf), 38 (Schwartz personally paid Clearview’s

expenses and received payments at his home), 39 (Ton-That and Schwartz treated the Database as

their own), 37 (Ton-That and Schwartz undercapitalized Clearview).

        Under an alter-ego/veil-piercing analysis, the result is the same. To state an alter ego claim,

a plaintiff must allege: (a) that the corporation and its shareholders operated as a unified economic

entity; and (b) the presence of an element of injustice or unfairness. 3 Galligan v. Adtalem Global

Educ. Inc., at *6 (N.D. Ill. Jan. 15, 2020). “Seven factors guide this analysis: (1)

undercapitalization; (2) failure to observe corporate formalities; (3) nonpayment of dividends; (4)

the insolvency of the corporation; (5) siphoning of the corporation’s funds by the dominant

stockholder; (6) absence of corporate records; and (7) the fact that the corporation is merely a

façade for the operations of the dominant stockholder or stockholders.” Id.

        The Complaint alleges a “unity of interest” between Clearview and its principals that

dissolved their separate personalities. Dkt. 116 ¶36. For instance, the Complaint alleges that Ton-

That and Schwartz undercapitalized Clearview to shield it from paying legal obligations. Id. ¶37.


3
 Defendants wrongly claim that fraud is always necessary to pierce the corporate veil when, in fact,
Delaware requires a showing of “fraud or similar injustice.” Mason v. Network of Wilmington, Inc., 2005
WL 1653954, at *3 (Del. Ch. 2005).


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The Complaint also alleges a lack of corporate formalities – e.g., Schwartz personally funding

Clearview’s expenses and directing that payments be sent to his home. Id. ¶38. Moreover, the

Complaint alleges that Clearview was a façade for Ton-That’s and Schwartz’s operations, as they

treated Clearview’s Database as their own, transferring “ownership” of it as they saw fit. Id. ¶39.

These allegations and the corresponding inferences satisfy the elements of an alter-ego claim.

II.     The Complaint Alleges Facts Sufficient to Pierce Rocky Mountain’s Corporate Veil.

        Defendants’ contention that Plaintiffs have failed to pierce Rocky Mountain’s corporate

veil (Dkt. 88 at 13) similarly fails. To hold a parent company liable for the actions of a subsidiary,

the corporate veil must be pierced. See StrikeForce Techs., Inc. v. PhoneFactor, Inc., 2013 WL

6002850, at *3 (D. Del. Nov. 13, 2014) (as amended). 4 The corporate veil may be pierced under

an alter ego test or an agency test. Id. Plaintiffs described the alter ego test above. See id. Under

the agency theory, a parent is liable for the specific conduct it directed, authorized, or instigated

the subsidiary to perform. Id. at 5.

        Here, Rocky Mountain’s corporate veil may be pierced under both tests. Under the agency

theory, Plaintiffs have alleged Clearview (through the Individual Defendants) was responsible for

Rocky Mountain’s unlawful conduct with respect to Plaintiffs’ and class members’ biometrics –

namely, the collection, use, distribution and sale of the biometrics. Dkt. 116 ¶¶39, 43.

        Plaintiffs’ allegations also satisfy both requirements of the alter-ego test. First, Plaintiffs

have alleged inattention to corporate formalities, such as: (a) a Clearview employee (paid by

Clearview) posing as a Rocky Mountain employee; (id. ¶42); (b) Mulcaire seeking personal

payment for Rocky Mountain’s work (id.); and (c) Clearview allowing Rocky Mountain to

fraudulently represent that the Database was its own “proprietary technology” (id. ¶ 39). These


4
 When determining a Delaware parent company’s liability for the actions of a subsidiary, courts routinely
apply Delaware law. See, e.g., Mobil Oil Corp. v. Linear Films, Inc., 718 F. Supp. 260, 267 (D. Del. 1989).
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allegations support the reasonable inference that Rocky Mountain was merely a façade of

Clearview that was dominated and controlled by Clearview (through the Individual Defendants).

        Second, use of the corporate form would result in an injustice. As Defendants admit, Rocky

Mountain was a corporate shell that was not capitalized at all. Id. ¶ 41; Dkt. 88 at 13 (Rocky

Mountain has “no actual operations”). Given that Rocky Mountain only did business with an

Illinois entity (see Dkt. 116 ¶¶17-18), it is reasonable to infer that by failing to capitalize Rocky

Mountain, Clearview attempted to distance itself from BIPA liability while making Rocky

Mountain judgment proof.

III.    Plaintiffs Have Sufficiently Pled Their Claims Against Rocky Mountain.

        Defendants’ contention that Plaintiffs fail to sufficiently allege claims against Rocky

Mountain (Dkt. 88 at 13-14) ignores the Complaint’s Rocky Mountain-related allegations (as

described above), which are incorporated into Plaintiffs’ claims against Rocky Mountain. See Dkt.

116 ¶¶17-18, 22, 39-43, 90, 105, 119, 126, 134, 150, 163, 170, 177, 184, 193, 201. Properly

considered, the Complaint’s allegations state claims against Rocky Mountain.

IV.     Plaintiffs’ BIPA Claims Do Not Violate the Extraterritoriality Doctrine.

        Defendants incorrectly contend that Plaintiffs’ BIPA claims violate Illinois’

extraterritoriality doctrine. Dkt. 88 at 14-15. As a threshold matter, Defendants do not claim that

Plaintiffs’ Rocky Mountain-based BIPA claims in Counts Two, Four and Six violate the doctrine,

nor could they, given that the sole transaction at issue in those counts was in Illinois with an Illinois

customer. Dkt. 116 ¶¶22, 39, 42. Moreover, as to Rocky Mountain, that was its singular transaction.

        With respect to Plaintiffs’ remaining BIPA claims, courts considering Defendants’

contention in a similar BIPA context have routinely rejected it as premature at the Rule 12(b)(6)

stage. See, e.g., Patel v. Facebook, Inc., 932 F.3d 1264, 1275-76 (9th Cir. 2019); Vance v. Int’l



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Business Machines Corp., 2020 WL 5530134, at *3 (N.D. Ill. Sept. 15, 2020); Rivera v. Google,

Inc., 238 F.Supp.3d 1088, 1100-02 (N.D. Ill. 2017); Monroy v. Shutterfly, Inc., 2017 WL 4099846,

at *5-7 (N.D. Ill. Sept. 15, 2017); see also see Morrison v. YTB Intern., Inc., 649 F.3d 533, 538

(7th Cir. 2011) (only extraordinary circumstances justify dismissal on extraterritoriality grounds

at Rule 12(b)(6) stage). This is because application of the extraterritoriality doctrine requires a

fact-intensive inquiry. Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 854 (Ill. 2005).

        On the merits, Defendants view Plaintiffs’ allegations in an improper light and assert

Plaintiffs fail to allege facts showing their claims occurred primarily and substantially in Illinois.

Dkt. 88 at 15. Properly considered, Plaintiffs’ allegations raise a question of fact as to whether the

BIPA claims occurred primarily and substantially in Illinois. In Avery, the relevant circumstances

occurred “primarily and substantially” in the situs where, among other things: (a) plaintiffs resided;

(b) the deception or “failure to disclose” occurred; and (c) the plaintiffs incurred their injury. 5 Id.

at 854. Here, each of those relevant circumstances occurred in Illinois: (a) Illinois subclass

members are Illinois residents (Dkt. 116 ¶65); (b) Defendants failed to provide notice to the Illinois

subclass members in Illinois (see id. ¶58); and (c) Defendants trespassed on Illinois subclass

members’ private domains in Illinois. See Bryant v. Compass Group USA, Inc., 958 F.3d 617,

624 (7th Cir. 2020). Moreover, Defendants contracted with hundreds of Illinois entities (Dkt. 116

¶20), and it is reasonable to infer Clearview created Rocky Mountain as a judgment-proof entity

that would transact business in Illinois.

        That Clearview is headquartered in New York (see Dkt. 88 at 15) does not change the

above analysis. See Avery, 835 N.E.2d at 854-55 (defendant’s home state does not control);


5
 Avery addressed extraterritoriality in the context of Illinois’ Consumer Fraud Act and required that “the
circumstances that relate to disputed transactions occur primarily and substantially in Illinois.” Avery, 835
N.E.2d at 854 (emph. added). Because BIPA regulates different conduct, the circumstances that must occur
primarily and substantially in Illinois likely are different.
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Landau v. CNA Fin. Corp., 886 N.E.2d 405, 407-09 (Ill. App. Ct. 2008) (cited by Defendants)

(same); Phillips v. Bally Total Fitness Holding Corp., 865 N.E.2d 310, 315-16 (Ill. App. Ct. 2007)

(cited by Defendants) (same). Similarly, the fact that Defendants collected and distributed the

biometrics of non-Illinois residents (Dkt. 88 at 15) has no bearing on the above analysis, which

focuses on Defendants’ conduct vis-à-vis Illinois subclass members asserting BIPA claims.

       Vulcan Golf, LLC v. Google Inc., 552 F.Supp.2d 752 (N.D. Ill. 2008) (Dkt. 88 at 15, n.4),

is distinguishable. Unlike here, the complaint in that case contained “no allegations that plausibly

suggest that the purported deceptive domain scheme occurred primarily and substantially in

Illinois.” Vulcan Golf, LLC, 552 F.Supp.2d at 775 (emph. added).

V.     The Dormant Commerce Clause Does Not Apply to Plaintiffs’ BIPA Claims.

       Dismissal on dormant Commerce Clause grounds (see Dkt. 88 at 15-17) is similarly

premature. In the BIPA context, courts have routinely rejected dormant Commerce Clause

challenges, especially at the Rule 12(b)(6) stage. See, e.g., In Re Facebook Biometric Info. Privacy

Litig., 2018 WL 2197546, at *4 (N.D. Cal., May 14, 2018); Vance, 2020 WL 5530134, at *3-4;

Rivera, 238 F.Supp.3d at 1102-04; Monroy, 2017 WL 4099846, at *7-8.

       Notably, the dormant Commerce Clause does not apply here because it only “precludes the

application of a state statute to commerce that takes place wholly outside of the State’s borders,

whether or not the commerce has effects within the state.” Rivera, 238 F.Supp.3d at 1103 (quoting

Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989)) (internal quotation marks omitted) (emph.

added). As discussed above, Plaintiffs allege substantial conduct that occurred in Illinois.

       New York’s failure to enact biometric legislation (see Dkt. 88 at 16) is of no import. New

York may expose its residents to biometric privacy harms, while Illinois is free to protect its

residents from them. Unlike in Morley-Murphy Co. v. Zenith Elecs. Corp., 142 F.3d 373, 379 (7th



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Cir. 1998), and Midwest Title Loans, Inc. v. Mills, 593 F.3d 660, 668 (7th Cir. 2010) (Dkt. 88 at

16-17), applying BIPA in this case would not “stymie[]” or “trump” the legislative choices of

states that have opted for less regulation or “exalt the public policy of one state over that of

another.” 6 In actuality, Defendants seek to impose New York’s regulatory scheme on Illinois,

which is improper. See Healy, 491 U.S. at 337. A different conclusion would allow any company

to violate Illinois residents’ biometric privacy merely by using computers outside of Illinois to

collect the data. The dormant Commerce Clause does not contemplate such a perverse result.

        Defendants’ claim that Illinois residents only make up “some small percentage” of the

Database (Dkt. 88 at 17) is not alleged in the Complaint and otherwise views the pleadings in an

improper light. Moreover, Defendants cite no authority: (a) for the proposition that Illinois can

only protect Illinois residents over a certain threshold; or (b) prohibiting a state from protecting its

residents from tortious conduct if the tortfeasor also harms people elsewhere. On Defendants’

theory, a state’s tort law could never apply to in-state harms inflicted by large corporations.

        Defendants’ contention that BIPA precludes it from collecting any online photographs

because it is “impossible” to determine where a photo subject resides (Dkt. 88 at 17) is not based

on the Complaint’s allegations. Further, BIPA regulates biometrics, not photographs. See 740

ILCS 14/15. Notably, BIPA is not a strict liability statute. See 740 ILCS 14/20. Defendants must

only make reasonable efforts to identify Illinois residents. Their refusal to do so does not create a

dormant Commerce Clause issue.

        Defendants’ citations to out-of-circuit dicta about the Internet from cases between 1997

and 2003 (see Dkt. 88 at 16 n.6) are inapposite. The modern view is that states can regulate online

conduct involving their citizens without offending the dormant Commerce Clause. See S.


6
 Midwest Title is also distinguishable because it involved an Indiana statute that, unlike BIPA, sought to
impose Indiana licensing requirements on transactions executed by both parties out of state. Id. at 662-63.
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Dakota v. Wayfair, Inc., 138 S.Ct. 2080, 2097-2100 (2018) (in modern times, it is no longer

appropriate to use the dormant Commerce Clause to “limit[] the lawful prerogatives of the States”

by requiring that regulated entities have a physical presence). So too here: through BIPA, Illinois

is exercising its sovereign prerogative to protect the privacy of its citizens.

VI.    The First Amendment Does Not Bar Plaintiffs’ BIPA Claims.

       Defendants’ contention that the First Amendment bars Plaintiffs’ BIPA claims (Dkt. 88 at

17-25) lacks merit. Laws that regulate conduct do not implicate the First Amendment merely

because a party wishes to use the regulated conduct in service of some future speech. See Rumsfeld

v. Forum for Academic. & Inst’l Rts., Inc., 547 U.S. 47, 66 (2006). Rather, a First Amendment

injury only arises if the regulated conduct is “so inherently expressive” that it warrants

constitutional protection. Id. at 47. Under those circumstances, the challenged regulation is subject

to intermediate scrutiny and is constitutional if “it furthers an important or substantial

governmental interest; if [that] interest is unrelated to the suppression of free expression; and if

the incidental restriction on alleged First Amendment freedoms is no greater than is essential to

the furtherance of that interest.” U.S. v. O'Brien, 391 U.S. 367, 377 (1968).

       Because collecting and using a person’s private data is conduct – not speech – laws that

regulate such collection and use do not implicate the First Amendment. See Dahlstrom v. Sun-

Times Media, LLC, 777 F.3d 937, 947 (7th Cir. 2015). If a challenged law directly regulates speech,

a court must consider whether it does so in a content-neutral or content-based manner. Id. at 950.

Intermediate scrutiny applies to content-neutral regulations. Id. at 949, 952.

       A.      BIPA Regulates Conduct – i.e., the Collection and Use of Private Information.

       BIPA regulates the collection and use of a person’s sensitive and private biometrics. See

740 ILCS 14/5 and 15; see also See Bryant, 958 F.3d at 624 (referring to biometrics as “private



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information”); Patel, 932 F.3d 1264, 1273 (“using facial-recognition technology without

consent . . . invades an individual’s private affairs”). As such, BIPA is similar to many regulations

that safeguard from misuse various categories of private or confidential information. 7

        Yet, Defendants assert that a person’s sensitive biometrics are somehow “public

information” because they can be harvested from photographs. Dkt. 88 at 11-12. The private nature

of biometric data is not transformed into public information simply because technology has made

it easier to obtain from public sources. It is well-settled that limitations exist on “the power of

technology to shrink the realm of guaranteed privacy.” See Kyllo v. United States, 533 U.S. 27, 34

(2001) (home still private despite technology that can peer inside). For instance, the Supreme Court

has held that individuals retain a privacy interest in their sensitive personal information even

though such information can be reconstructed from pieces of data they have made visible to others.

See Carpenter v. United States, 138 S.Ct. 2206, 2219–20 (2018). In Carpenter, the Court held that

individuals do not passively surrender their privacy interest in their physical movements or

locations merely because in modern society “there is no way to avoid leaving behind a trail of

location data.” Id. Similarly, individuals do not surrender their biometric privacy interest merely

because they cannot avoid having images posted online from which their biometrics may extracted.

        Defendants’ cited authority regarding publicly-posted or -filed information (Dkt. 88 at 20

and n.9) is inapposite. While Defendants try to paint a picture of a company that simply gathers

publicly-available photographs and stores them in a database (see, e.g., id. at 19), that is not the

case. This case is not about Defendants’ collection of online photographs. It is about Defendants’



7
  See, e.g., Children’s Online Privacy Protection Act of 1998 (“COPPA”), 15 U.S.C. § 6501, et seq.
(children’s personal information); Health Insurance Portability and Accountability Act of 1996 (“HIPAA”),
42 U.S.C. § 1320d, et seq. (patient health records); Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681
(credit records); Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g (school
records); Illinois Genetic Information Privacy Act, 410 ILCS 513/1, et seq. (genetic information).
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trespass on the private domains of millions of Americans by harvesting their unique and immutable

biometrics for personal gain. 8 It is this non-public and personal biometric data that underlies

Defendants’ business model. See Dkt. 116 ¶¶1-2. And it is this non-public biometric data that

allows Defendants to identify otherwise unidentifiable people. BIPA regulates this non-public data.

        Notably, Plaintiffs allege that Defendants harvest the non-public biometric data from

images posted online (id. ¶1), regardless of who posted the photograph. The cases cited by

Defendants for the proposition that a person has no expectation of privacy in photographs he or

she posts online (Dkt. 88 at 20) do not apply to an image of an individual posted by someone else.

        B.      There is No First Amendment Right to Access or Use Private Information.

        Because BIPA regulates conduct, it cannot give rise to a First Amendment injury.

Dahlstrom is instructive. There, the court held that a “limitation on obtaining personal information

[from driving records] is not a restriction on speech at all” and did not trigger any First

Amendment scrutiny. Dahlstrom, 777 F.3d at 949 (emph. added). According to the court, “a

limitation only on access to information” cannot by itself allow the party desiring the information

to claim a First Amendment injury. Id. at 947. The First Amendment does not provide an

“expansive right to gather information,” even for the press. Id. at 946. A different conclusion would

endanger the constitutionality of a wide range of permissible privacy statutes. Id. at 947.

        Other courts upholding privacy statutes against First Amendment challenges have relied

on reasoning similar to that in Dahlstrom. See, e.g., United States v. Miami University, 294 F.3d

797, 820-24 (6th Cir. 2002) (rejecting First Amendment challenge to FERPA – press does not have



8
  Even if biometrics extracted from public photographs were “public information,” the government is
entitled to regulate the use of that information to protect privacy, just as the federal government regulates
the use of publicly-available telephone numbers through the “Do Not Call List” and the Telephone
Consumer Protection Act. See, e.g., Nat’l Coalition Of Prayer, Inc. v. Carter, 455 F.3d 783, 790 (7th Cir.
2006); Mainstream Mktg. Servs., Inc. v. FTC, 358 F.3d 1228, 1223 (10th Cir. 2004).
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a “constitutional right of special access to information not available to the public generally”); Offor

v. Mercy Med. Ctr., 167 F.Supp.3d 414, 445 (E.D.N.Y. 2016), vacated in part on other grounds,

676 F. App’x 52 (2d Cir. 2017) (collecting cases – “information protected by HIPAA is not subject

to a First Amendment or common-law right of access” even in otherwise public court documents).

       Defendants’ cited authority does not establish a First Amendment right to collect or use

private information or that such conduct constitutes speech. Citing Sorrell v. IMS Health, 564 U.S.

552 (2011), Defendants argue that BIPA “violates the First Amendment by inhibiting Clearview’s

ability to collect, analyze, and include [] public information in its product.” Dkt. 88 at 19. But

Sorrell does not preclude Illinois from designating biometrics as private or regulating their

collection and use. In that case, the Court held that a Vermont statute that prohibited pharmacies

from providing physician prescriber-identifying data to marketers, but not to others, violated the

First Amendment by imposing content and speaker-based restrictions. Id. at 580. According to the

Court, Vermont did not treat the information at issue as private or attempt to protect it from

disclosure more generally. Id. at 573. Instead, the state “made prescriber-identifying information

available to an almost limitless audience” except for the specifically disfavored speakers. Id. The

Court noted that “the State might have advanced its asserted privacy interest by allowing the

information’s sale or disclosure in only a few narrow and well-justified circumstances.” Id.

       BIPA is unlike the Vermont statute and more akin to HIPAA, which the Court cited

approvingly in Sorrell. Id. at 580. BIPA uniformly limits access to and the use of biometrics

without informed consent except for “a few narrow and well-justified circumstances.” Sorrell thus

supports BIPA’s constitutionality.




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        C.      The Regulated Conduct Is Not Sufficiently Expressive to Implicate the First
                Amendment.

        Nothing about the conduct at issue here is “so inherently expressive” that it qualifies for

First Amendment protection. See Rumsfeld, 547 U.S. at 49. Just as a newspaper’s collection of

private information to publish a news story does not constitute protected expression, see Dahlstrom,

777 F.3d at 947, 949, neither does Defendants’ conduct here.

        Defendants’ non-binding authority from the early 2000s (Dkt. 88 at 19) does not change

this analysis. In Search King, Inc. v. Google Tech, Inc., 2003 WL 21464568 (W.D. Okla. May 27,

2003), the court held that a search engine’s ranking of public websites was protected First

Amendment opinion. Id. at *4. Unlike here, the case did not involve the collection and use of

private data. At issue in Junger v. Daley, 209 F.3d 481 (6th Cir. 2000), was the publication of a

professor’s source code. Id. at 484. Here, the biometrics belong to Plaintiffs and class members,

and Defendants did not create or “write” those biometrics.

        D.      Even If BIPA Burdens Speech, It Is Subject to Intermediate Scrutiny.

        When a challenged statute regulates speech, “[t]he appropriate standard of review for such

a regulation hinges on whether the regulation is content based, which requires [the court] to apply

strict scrutiny, or content neutral, which demands only an intermediate level of scrutiny.”

Dahlstrom, 777 F.3d at 949. 9 A statute is content-based if it: (a) restricts “particular viewpoints”;

or (b) targets “public discussion of an entire topic” or “subject matter” for differential treatment.

Reed v. Town of Gilbert, 576 U.S. 155, 168-69 (2015).




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 The Dahlstrom decision treated that privacy statute’s dissemination provision as a content-neutral speech
regulation that withstood intermediate scrutiny. 777 F.3d at 949. It found the statute’s information-
collection provision to be a regulation of conduct. Id. If the Court determines BIPA § 15(d) to be a speech
regulation, it is similarly content-neutral and permissible under intermediate scrutiny. See infra.
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       To the extent BIPA burdens speech by regulating the dissemination of biometrics without

notice and consent, it does so in a content-neutral manner and is, therefore, subject to intermediate

scrutiny. Illinois enacted BIPA to protect its residents’ biometric privacy, not because it agreed or

disagreed with any message communicated by individuals’ biometrics. See 740 ILCS 14/5.

Moreover, BIPA neither restricts particular viewpoints nor targets public discussion of an entire

topic or subject matter for differential treatment. Cf. Sorrell, 564 U.S. at 564, 566. BIPA requires

a private entity to receive informed consent before obtaining and using individual’s biometrics no

matter what sort of “speech” or content it wishes to express once it possesses those biometrics.

Rather than burdening any particular speech content, BIPA permissibly protects sensitive private

information. Cf. State of Ill. v. Austin, 155 N.E.3d 439, 458 (Ill. 2019) (“The entire field of privacy

law is based on the recognition that some types of information are more sensitive than others . . . ”).

       BIPA’s content-neutral nature is underscored by Defendants’ strained effort to transform

it into a content-based regulation. See Dkt. 88 at 21-23. According to Defendants, BIPA “targets

attempts to identify people that it deems too dangerous (from a privacy standpoint) merely because

of their effectiveness.” Id. at 21. To show differential treatment, Defendants hypothesize that

Plaintiffs would not take issue with a process by which individuals manually sought to match

photographs. Id. But BIPA does not target the matching of photographs – whether by hand or by

automation; it regulates the collection and dissemination of biometrics. If the hypothetical people

who were manually matching photographs also were collecting and disseminating biometrics,

BIPA would treat them the same as anyone else, subject to expressly-stated permissible exceptions.

Conversely, Defendants would be treated the same if they were not engaged in photograph

matching. BIPA is not content-based, and strict scrutiny does not apply.




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       Beyond claiming that BIPA is a content-based speech restriction, Defendants claim it is a

speaker-based restriction. Dkt. 88 at 22. Defendants point to two express exceptions to BIPA’s

regulations – i.e., exceptions for employees and contractors of a “State agency or local unit of

government” and certain federally-regulated financial institutions. Id. Strict scrutiny is only

triggered for speaker-based regulations when the speaker preference “reflects a content preference.”

Reed, 576 at 155 (citation omitted, emph. added); see also Dahlstrom, 777 F.3d at 950. If statutory

exceptions may have an incidental effect on some messages or speakers, the statute remains

content neutral if the exceptions’ goals are unrelated to the regulated content of expression.

Dahlstrom, 777 F.3d at 950.

       BIPA’s limited exceptions are unrelated to any content preference. The exception for

financial institutions defers to federal law that already governs collection of private data by these

entities. See 740 ILCS 14/25(c); 12 C.F.R. § 1016 (data privacy rule applicable to federally-

regulated financial institutions). While the state agency/local unit of government exception may

have some incidental effect on some speakers and not others, BIPA remains content neutral

because the goals of the exception – allowing employees and contractors of a “State agency or

local unit of government” to perform their public functions – are unrelated to the content of the

regulated expression. See Dahlstrom, 777 F.3d at 950, 950 n.5 (permissible exceptions include one

for “government or security entities”). Virtually all privacy regulations entrust some individuals

or entities with the regulated information, but not others. See, e.g., 20 U.S.C. § 1232g(b)(1)(A)–

(L) (FERPA provisions designating permissible recipients). To treat every such statute as a

“speaker-based” speech regulation subject to strict scrutiny would upend all of privacy law.




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           E.     BIPA Withstands Intermediate Scrutiny.

           Under O’Brien, BIPA, as applied here, withstands intermediate scrutiny. First, BIPA

furthers Illinois’ substantial interest in protecting residents’ sensitive and immutable biometrics

from unauthorized collection and dissemination. See 740 ILCS 14/5; Rosenbach v. Six Flags Entn’t

Corp., 129 N.E.3d 1197, 1206 (Ill. 2019) (BIPA protects citizens’ control over their highly

sensitive data); Patel, 932 F.3d at 1274; see also Dahlstrom, 777 F.3d at 952. Second, Illinois’

interest is unrelated to the suppression of any sort of expression and, by reducing the fear of

omnipresent surveillance, BIPA promotes and protects free expression that might otherwise be

chilled.

           Third, any incidental restriction BIPA places on alleged First Amendment freedoms is no

greater than is essential to the furtherance of Illinois’ above-described interest. This “narrow-

tailoring” requirement is satisfied where a regulation promotes a substantial government interest

that would be less effectively achieved without the regulation. Dahlstrom, 777 F.3d at 954. The

regulation need not be the least speech-restrictive means of advancing the state's interests. Id. BIPA

promotes biometric privacy much more effectively than would be the case absent its regulations.

BIPA achieves this interest while still allowing individuals to share their biometrics and third

parties to share them with consent. Cf. Austin, 155 N.E.3d at 457 (“revenge porn” regulation with

no liability for images obtained and distributed with consent withstood intermediate scrutiny).

           As discussed above, Defendants’ contention that BIPA does not protect confidential and

sensitive information because the biometrics at issue are harvested from photographs available

online (Dkt. 88 at 23) fails. Defendants’ contention that BIPA is overbroad because it suppresses

speech adults have a right to receive and disseminate (Dkt. 88 at 24-25) similarly fails. Defendants’

impermissibly premise their contention on facts outside the record – i.e., that they have a limited



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ability to discern the residencies of subjects of online photographs. Id. at 25. Based on that

unsupported premise, Defendants state that BIPA essentially bans their ability to match publicly-

available photographs with other photographs. Id. On this undeveloped record, Defendants’

contention necessarily fails. Moreover, nowhere does BIPA prevent Defendants from obtaining

anyone’s consent, obtaining photographs, or matching photographs with other photographs.

Further, BIPA only applies to Illinois residents. Defendants are free to use photographs of residents

from the rest of the world without concern for BIPA.

VII.    The Complaint Sufficiently Alleges a Violation of BIPA § 15(c).

        Ignoring the Complaint’s allegations, Defendants contend it fails to allege they sold, leased,

traded or otherwise profited from Plaintiffs’ and Class Members’ biometrics in violation of BIPA

§ 15(c). Dkt. 88 at 25-28. Further ignoring the Complaint’s allegations, Defendants also contend

that Plaintiffs incorrectly construe § 15(c)’s “otherwise profit from language” to mean “profit[ing]

from technology that relies on biometrics.” Id. at 26. The arguments lack merit.

        Section 15(c) provides that “[n]o private entity in possession of a biometric identifier or

biometric information may sell, lease, trade, or otherwise profit from a person’s or customer’s

biometric identifier or biometric information.” 740 ILCS 14/15(c). The Complaint is replete with

allegations regarding Defendants’ sale, lease and trade for profit of the biometrics at issue. See,

e.g., Dkt. 116 ¶¶2 (developed technology for profit), 31 (sold, traded, leased and otherwise profited

from unlawfully collected biometrics), 32 (sold access to Database to 1000s), 33 (sold access to

database to entities that queried it to identify people), 55 (distributed biometrics to private entities

who obtained the biometrics contained therein), 56 (profited from the biometrics in the Database

by selling them to entities). Additionally, Counts Three and Four are specifically directed at




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Defendants’ violations of § 15(c) as a result of their “selling, leasing, trading and otherwise

profiting from individuals’ biometric identifiers and biometric information.” Id. ¶¶99, 106.

       Even accepting arguendo Defendants’ narrow interpretation of “otherwise profit from” to

solely mean profiting from the transfer of a person’s biometrics to another in exchange for

consideration (Dkt. 88 at 26), Plaintiffs’ allegations are sufficient. At minimum, Defendants

transferred for profit Plaintiffs’ and class members’ biometric information to customers – indeed,

the entire premise of Defendants’ business is to provide identifying information to customers based

on a person’s biometric identifiers. See Dkt. 116 ¶55.

       A court in this District recently denied a motion to dismiss based on the same § 15(c)

arguments Defendants present here. See Flores v. Motorola Sols., Inc., 2021 WL 232627, at *3

(N.D. Ill. Jan. 8, 2021). The court found that the plaintiffs’ allegations that the defendants

“develop[ed] the database by extracting biometric identifiers, compared novel images to the

database images to find facial matches, and offer[ed] access to that database for a fee to law

enforcement” sufficiently alleged a § 15(c) violation because “biometric data is a necessary

element to Defendant’s business model.” Id. This Court should reach the same conclusion.

VIII. BIPA Applies to Biometrics Extracted from Photographs.

       Courts have uniformly rejected Defendants’ argument that BIPA exempts biometric data

extracted from photographs. See, e.g., Flores, 2021 WL 232627, at *3; Vance, 2020 WL 5530134,

at *4; Rivera, 238 F. Supp 3d at 1095; In re Facebook Biometric Privacy Litig., 185 F. Supp. 3d

1155, 1170–72 (N.D. Cal. 2016); Monroy, 2017 WL 4099846, at *3-5. This Court should, too.

       As Defendants note, photographs themselves are not “biometric identifiers.” See Dkt. 88

at 28. But a “scan of facial geometry” is a “biometric identifier.” This is because the definition of

“biometric identifier” neither specifies the means by which the scan is taken nor excludes



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information derived from any particular source (unlike “biometric information,” which contains

such an exclusion). As the court in Rivera found, “a ‘biometric identifier’ is not the underlying

medium itself, or a way of taking measurements, but instead is a set of measurements of a specified

physical component (eye, finger, voice, hand, face) used to identify a person.” 238 F.Supp 3d at

1096. Moreover, accepting Defendants’ argument could also allow retinal scans and fingerprints

to be captured from photographs with impunity. See id. at 1096; Monroy, 2017 WL 4099846, at

*4. This Court should not be the first to adopt Defendants’ dangerous reading of BIPA.

IX.      Plaintiffs Have Standing to Assert Their California, New York and Virginia Claims.

         Defendants contend that the New York, California and Virginia Plaintiffs lack standing

because they have not suffered injuries to protected privacy interests or a concrete harm. Dkt. 88

at 29. Regarding Plaintiffs’ protectable privacy interests, contrary to Defendants’ contention,

Plaintiffs’ claims do not arise out of “sharing information.” See id. As discussed above, Plaintiffs

have alleged that Defendants unlawfully collected, used and distributed their biometrics, which

are protected under state law. See e.g., California Consumer Privacy Act of 2018, Cal. Civ. Code

§1798.100 et. seq.; N.Y. State Tech. Law § 106-b; Va. Code Ann. § 18.2-186.3. As for Plaintiffs’

injuries, Defendants misapprehend the law. The California, New York and Virginia Plaintiffs have

suffered, and continue to suffer, the ongoing invasion of their right to privacy over their biometrics,

a concrete injury that satisfies Article III. 10




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  Defendants’ reliance on In re Google, Inc. Priv. Pol'y Litig., at *2 (N.D. Cal. Dec. 28, 2012) (Dkt. 88 at
29), is misplaced. Unlike here, that case involved a modification to a company’s privacy policies that
impacted the company’s customers. Defendants’ reliance on Antman v. Uber Techs., Inc., 2015 WL
6123054 (N.D. Cal. Oct. 19, 2015) (Dkt. 88 at 29), is inapposite. Antman’s holding was limited to situations
where the sole claimed harm was the risk of identity theft. 2015 WL 6123054, at *11. Here, Plaintiffs allege
they suffered concrete harm from Defendants’ purposeful invasion of their privacy, not just the risk of
identity theft. Also, the biometrics here are significantly more sensitive than the data at issue in Antman.
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       The Supreme Court’s recent decision in TransUnion, LLC v. Ramirez, 549 U.S. _____,

2021 WL 2599472 (U.S. June 25, 2021) supports Plaintiffs’ standing in this case. There, the Court

found Article III standing for the plaintiffs’ Fair Credit Reporting Act claims because the harm

they suffered from a wrongful disclosure of false information had a “‘close relationship’ to harm

traditionally recognized as providing a basis for a lawsuit in American courts – namely, the

reputational harm associated with the tort of defamation.” Id. at *10.

       This case is analogous to TransUnion. The thrust of the California, New York, and Virginia

Plaintiffs’ claims is that without their knowledge or consent, Defendants obtained their biometrics,

included the biometrics in their Database, and sold their biometrics to third parties. Dkt. 116 ¶¶33,

35, 143, 152, 164, 172, 178-80, 186. The asserted harms bear a “close relationship” to those

associated with the traditionally recognized claims of tortious invasion of privacy, disclosure of

private information and intrusion upon seclusion.

       Defendants claim Plaintiffs’ injury is not sufficiently concrete because they have not

complained of economic harm, e.g., the loss of money or the “serious threat of identity theft.” Dkt.

88 at 29. However, Plaintiffs expressly allege that they face the threat of identity theft. Dkt. 116¶

63. Moreover, economic harm is not necessary for standing. As the Court held in TransUnion,

“[v]arious intangible harms can also be concrete,” and highlighted “disclosure of private

information” and “intrusion upon seclusion” as harms “traditionally recognized as providing a

basis for lawsuits in American courts.” TransUnion, 2021 WL 2599472, at *7; see also Gadelhak

v. AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (cited with approval in TransUnion –

Article III standing in TCPA case based on “intrusion upon seclusion” tort).

       Before TransUnion, the Seventh Circuit recognized that the existence of analogous

common law claims supports Article III standing under BIPA. Bryant, 958 F.3d at 624 (comparing



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BIPA violation to “an act of trespass”); Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1154

(7th Cir. 2020) (comparing BIPA violation to a “tortious invasion of privacy”). Defendants have

not challenged Article III standing for the BIPA claims. But the conduct and harms underlying the

BIPA claims are the same as those underlying the California, New York and Virginia Plaintiffs’

claims. Thus, the standing analysis is identical, and Plaintiffs have Article III standing to bring

Counts Eight through Fourteen – causes of action that serve to redress invasions of Plaintiffs’

privacy as courts have traditionally understood such harms. 11

X.       Plaintiffs’ Sufficiently Plead Their Right of Publicity Claims.

         Primarily focused on Plaintiff Vestrand, Defendants seek dismissal of Plaintiffs’ right of

publicity claims alleged in Counts Eight, Eleven, Twelve and Fourteen. Dkt. 88 at 30-33.

According to Defendants, Plaintiff Vestrand’s California right of publicity claims fail because she

has not alleged Defendants used her “likeness in advertising or merchandising.” Dkt. 88 at 31. But

right of publicity claims are not limited to the advertising context. They are intended to reach every

commercial misappropriation of an individual’s likeness. Notably, Defendants ignore: (a) §

3344(a)’s plain language, which prohibits, inter alia, the unconsented commodification and sale

of a person’s likeness 12; and (b) the elements of a common law right of publicity claim, which do



11
   Intrusion upon seclusion is closely related to the tort of invasion of privacy. See Restatement (Second) of
Torts § 652B (1977); see also Restatement (First) of Torts § 867 (1939) (a person is liable in tort if he
“interferes with another’s interest in not having his affairs known to others or his likeness exhibited to the
public“). The claims at issue are closely related to these or other longstanding privacy torts. See, e.g., Wiest
v. E-Fense, Inc., 356 F. Supp. 2d 604, 612 (E.D. Va. 2005) (Va. Code. Ann. § 8.01–40 provides only
Virginia remedy for invasion of privacy) (Count Eight); Zinner v. Olenych, 2015 WL 13721229, at *4 (E.D.
Va. Dec. 24, 2015) (VCCA allows claims for “computer invasion of privacy”) (Count 9); Miller, 159 Cal.
App.4th at 1002 (statute is rooted in preventing the traditional harm of invasion of privacy) (Count 11);
White v. Samsung Elecs. Am., Inc., 971 F.2d 1395, n. 1 (9th Cir. 1992), as amended (Aug. 19, 1992) (right
of publicity is a category of the right to privacy) (Count 12); Pearce v. Manhattan Ensemble Theater, Inc.,
2009 WL 3152127, at *8 (S.D.N.Y. Sept. 30, 2009) (N.Y. Civ. Rights Law §§50-51 protects individual’s
privacy “by preventing the unauthorized commercial exploitation of her personality.”) (Count 14).
12
   Section 3344 imposes liability on any person who “uses another’s name, voice, signature, photograph, or
likeness, in any manner, on or in products, merchandise, or goods, or for purposes of advertising or selling,
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not require proof that an individual’s likeness was used for advertising. See Downing v.

Abercrombie & Fitch, 265 F.3d 994, 1001 (9th Cir. 2001) (common law elements).

        Section 3344(a)’s legislative history underscores that injury inflicted by a violation is not

limited to injuries from advertising: “The gist of the cause of action in a privacy case is . . . a direct

wrong of a personal character resulting in injury to the feelings without regard to any effect which

the publication may have on the property, business, [or ]pecuniary interest . . . . [T]he injury is

mental and subjective . . . .” Miller v. Collectors Universe, Inc., 159 Cal.App.4th 988, 1002 (Cal.

Ct. App. 2008).

        Defendants cite no authority for their novel proposition that § 3344(a) is limited only to

advertising claims or where property rights are at issue. While Maloney v. T3Media, Inc., 853 F.3d

1004, 1010 (9th Cir. 2017) (Dkt. 88 at 30), acknowledges that the “core of the right of publicity is

preventing merchandising of a celebrity’s image without that person’s consent,” the case does not

limit § 3344 solely to advertising claims. Id., citing Hilton v. Hallmark Cards, 599 F.3d 894, 910

(9th Cir. 2009) (internal quotations omitted). In fact, the court in Maloney held that “the right of

publicity seeks to prevent commercial exploitation of an individual’s identity without that person’s

consent,” see 853 F.3d at 1010, as Plaintiff Vestrand alleges in Counts Eleven and Twelve.

        Callahan v. Ancestry.com Inc., 2021 WL 783524, at *5 (N.D. Cal. Mar. 1, 2021) (Dkt. 88

at 31), is inapposite. Callahan does not limit § 3344(a) claims to advertising but holds that where

the unauthorized use of a person’s likeness does not involve a claimed endorsement or property

rights, some other injury need be asserted. Here, Vestrand alleges that Defendants’ conduct –

scraping online photographs of her without consent, matching them to her identity using her ill-




or soliciting purchases of, products, merchandise, goods or services, without such person’s prior consent”
and thereby injures such person. Cal. Civ. Code § 3344 (West) (emphasis added).
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gotten biometric data, and using its collection of matched photos in its product – injured her. See

Dkt. 116. ¶¶61-65, 169, 175-76.

       Defendants make the same flawed argument with respect to the Virginia and New York

statutory right of publicity claims alleged in Counts Eight and Fourteen. Plaintiff Roberson alleges

a violation of Virginia Code § 8.01-40(A), which prohibits the use of one's name, portrait or picture,

without written consent, “for advertising purposes or for the purposes of trade.” Va. Code § 8.01-

40(A) (emph. added). Virginia follows the plain meaning rule in interpreting statutes. See, e.g.,

Vaughn, Inc. v. Beck, 554 S.E.2d 88, 90 (2001). The ordinary meaning of the word “trade” is the

“business of buying and selling commodities, products, or services.” American Heritage

Dictionary, www.ahdictionary.com (last visited July 9, 2021). Thus, the statute’s plain language

directly supports this claim.

       Moreover, “[i]n Virginia, one holds a property interest in one’s name and likeness.

Conversion occurs when, as here, a defendant uses another’s personal property as its own and

exercises dominion over it without the owner’s consent.” Town & Country Props. v. Riggins, 457

S.E.2d 356, 364 (1995) (citations omitted).

       Contrary to Defendants’ argument that “a ‘trade purpose’ exists only where an individual’s

name or likeness is used to promote or sell goods or services” (Dkt. 88 at 32), the Virginia Supreme

Court has expressly held that, under the statute, “[u]se for ‘advertising purposes’ and use ‘for the

purposes of trade’ are separate and distinct statutory concepts.” Riggins, 457 S.E.2d at 362. The

single unpublished decision cited by Defendants involved the use of an AOL screen name, not the

plaintiff’s “real name, portrait, or picture,” and so is inapposite. See Dkt. 88 at 32, n.14.

       Similarly, Defendant wrongly asserts that the term “purposes of trade” as used in § 51 of

New York’s Civil Rights Law is limited to those situations “where an individual’s name or likeness



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is used to promote or sell goods or services.” Dkt. 88 at 32. See Lerman v. Flynt Distrib. Co., 745

F.2d 123, 131 (2d Cir. 1984) (“purposes of trade” distinguishes the “commercialization” of a

person’s name or likeness from “the dissemination of news or information,” as in news reporting).

        Defendants’ reliance on the First Amendment to avoid right-of-publicity liability (Dkt. 88

at 32-33) fails. Defendants premise their argument on facts not alleged in the Complaint – namely,

that Defendants gathered Plaintiffs’ photographs for some public interest purpose. See id. As

alleged, Defendants gathered the photographs to build a Database from which they could profit.

See Dkt. 116 ¶¶2-3, 32-33, 56-57. Because the alleged purpose of Defendants’ conduct has nothing

to do with public affairs, Defendants’ cited cases (Dkt. 88 at 32-33) are inapposite.

XI.    Count Nine States a Claim for Violations of the Virginia Computer Crimes Act.

       Defendants contend the Virginia Computer Crimes Act (“VCCA”) “is a criminal anti-

hacking statute intended to target malicious computer break-ins.” Dkt. 88. at 36 (emph. in orig.).

Not so. The VCCA provides a private right of action for such violations, which need not be

malicious per the statute’s text. See Va. Code § 18.2-152.12(A).

       Defendants next contend that the nonconsensual use of Roberson’s pictures did not

constitute “an actual injury or legally cognizable damages.” Dkt. 88 at 37. As noted above, Virginia

recognizes a property interest in one’s name and likeness, and Defendants’ conduct meets

Virginia’s definition of conversion. Riggins, 457 S.E.2d at 363. Defendants’ nonconsensual

conversion of Roberson’s likeness resulted in her alleged injuries and damages. See Dkt. 116 ¶¶61-

64 (injuries and damages), 134 (incorporating ¶¶1-76).

       Defendants also assert that the Complaint “fails to allege that Clearview used any computer

or computer network ‘without authority.’” Dkt. 88 at 37 (emph. in orig.). Again, Defendants

ignore the VCCA’s text. A person “uses” a computer when, inter alia, he causes a computer



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network to “perform or to stop performing computer operations,” and does so “without authority”

when he “knows or reasonably should know that he has no right, agreement, or permission or acts

in a manner knowingly exceeding such right, agreement, or permission.” Va. Code § 18.2-152.2.

Here, Plaintiff Roberson alleges Defendants used computers to perform operations (i.e., scraping

her computer images and extracting biometrics) they had no right, agreement or permission to

perform (especially given the lack of written consent required by Code § 8.01-40(A), and the

violations of the terms of service of the source websites). See Dkt. 116 ¶¶141, 143, 145, and 147.

         Defendants also assert Plaintiff Roberson “fails to allege false pretenses, conversion,

artifice, trickery, or deception.” See Dkt. 88 at 37. This assertion is at odds with the Complaint and

with Virginia law. Count Nine expressly alleges the conversion of property, which is defined under

the VCCA to include “computer data” and “all other personal property regardless of whether they

are tangible or intangible.” Dkt. 116 ¶¶139-141 (citing Va. Code § 18.2-152.2, 152.3). That

definition includes Defendants’ conversion of the intangible property interest in Plaintiff

Roberson’s name and likeness. See Riggins, 457 S.E.2d at 363. Virginia also recognizes fraudulent

concealment as a distinct species of fraud. See Metrocall of Delaware v. Continental Cellular

Corp., 437 S.E.2d 189 (1993), citing Clay v. Butler, 112 S.E. 697 (Va. 1922)). 13 Finally,

Defendants fail to address the claim that they committed computer trespass by making an




13
   Given the substantive differences between the VCCA and the federal Computer Fraud and Abuse Act
(“CFAA”), and the distinct species of property right in name or likeness recognized in Virginia, Defendants’
citation to hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 999-1000 (9th Cir. 2019), is distinguishable.
Further, the recent Supreme Court decision on the scope of the CFAA does not apply here. Cf. Van Buren
v. United States, __ U.S. __, 141 S. Ct. 1648, 1659-60 (June 3, 2021) (interpreting the phrase “access a
computer without authorization” in the CFAA in light of the statute’s focus on “preventing the typical
consequences of hacking”). The VCCA, unlike the CFAA, imposes liability for using a computer (including
one’s own) to commit acts for which one does not have authorization. See Va. Code § 18.2-152.12(A), (E).
Cf. Brewer v. Commonwealth, 838 S.E.2d 557, 562 (2020).
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unauthorized copy of computer data (i.e., the images and associated biometrics) in violation of

Virginia Code § 18.2-152.4(A)(6). See Dkt. 116 ¶¶144-145.

XII.   Count Ten Sufficiently Alleges a California Unfair Competition Claim.

       Defendants claim Plaintiff Vestrand lacks standing to pursue her California Unfair

Competition Law (“UCL”) claim because she “did not pay money to Clearview, or lose money or

property due to Clearview’s conduct.” Dkt. 88 at 35. But Vestrand explicitly pleads an injury in

fact and lost money and property. Dkt. 116 ¶161. Notably, lost money is but one way a plaintiff

can establish economic injury for UCL standing. As the California Supreme Court has held,

“[t]here are innumerable ways in which economic injury from unfair competition may be shown.

A plaintiff may (1) surrender in a transaction more, or acquire in a transaction less, than he or she

otherwise would have; (2) have a present or future property interest diminished; (3) be deprived

of money or property to which he or she has a cognizable claim; or (4) be required to enter into a

transaction, costing money or property, that would otherwise have been unnecessary.” Kwikset

Corp. v. Superior Ct., 51 Cal.4th 310, 323 (Cal. 2011). The “quantum of lost money or property”

alleged is sufficient if it “would suffice to establish injury in fact and it suffices to allege some

specific, identifiable trifle of injury.” Law Ofcs. of Mathew Higbee v. Expungement Assistance

Servs., 214 Cal.App.4th 544, 561 (Cal. Ct. App. 2013) (internal quotations omitted).

       Here, Plaintiff alleges that she is “likely to withdraw from biometric-facilitated transactions

and other facially-mediated electronic participation” Dkt. 116 ¶64. This is a specific, identifiable

injury with inherent economic consequences. As these types of technologies proliferate, increased

costs to Plaintiffs to avoid biometrically-mediated transactions is all but certain. Those costs




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themselves would be entirely avoidable to Plaintiffs but for Defendants’ conduct. As such,

Vestrand has alleged an injury in fact for UCL standing. 14

XIII. Count Thirteen Sufficiently Alleges a California Constitutional Privacy Claim.

         Defendants’ bases for dismissing Plaintiff Vestrand’s California Constitutional claims

(Count Thirteen) lack merit. Contrary to Vestrand’s allegations (see Dkt. 116 ¶178), Defendants

assert that her claim fails because she “has not alleged that Clearview collected and misused

extremely personal and sensitive information[.]” Dkt. 88 at 34. When the Complaint’s allegations

are considered, the assertion fails.

         Again ignoring Vestrand’s allegations (Dkt. 116 ¶¶24-33), Defendants claim she cannot

claim a reasonable expectation of privacy in any “publicly-posted photographs.” Dkt. 88 at 34.

But Vestrand has pleaded that Defendants obtained the subject biometrics by covertly scraping

photographs depicting her and used computers to extract her unique facial geometry. Dkt. 116

¶¶25-33. 15 Neither Vestrand, nor anyone else, could have reasonably expected that someone would

have the means or motive to obtain her biometrics from any online photographs in which she ever

appeared, especially given that Defendants did so covertly and without her consent. See Kyllo, 533

U.S. 27 at 34 (thermal imaging camera infringed on reasonable expectation of privacy).

         Finally, Defendants claim that Vestrand cannot establish an egregious breach of social

norms because courts refuse to characterize “the dissemination of personally identifying

information as ‘egregious violations.’” Dkt. 88 at 34. Not so. The information disseminated here

is categorically more serious than other personal identifying information. See Fox, 980 F.3d at


14
   Defendant also incorrectly contends Plaintiff fails to adequately allege predicate acts. Dkt. 88 at 35. Those
predicate acts are alleged in Counts Eleven through Thirteen, as discussed herein.
15
   Defendants’ reliance on Moreno v. Hanford Sentinel, Inc., 172 Cal. App. 4th 1125, 1129 (2009) (Dkt.
116 34) is misplaced. Unlike the social media post of an unaltered journal entry in that case, the biometrics
here are indiscernible to a viewer of the source photographs and are only revealed – not republished – by
use of sophisticated and invasive technology.
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1155 (“sensitivity” of immutable biometrics distinguishes them from other information). Further,

despite Defendants’ contention (Dkt. 88 at 35), Vestrand did not voluntarily disclose her

biometrics by appearing in online photographs that she may or may not have posted.

XIV. Plaintiffs State Claims for Unjust Enrichment

       Defendants’ challenge to Plaintiffs’ unjust enrichment claims (Dkt. 88 at 38-39) is

meritless. As to California law, while it is “unsettled on the availability of a cause of action” for

unjust enrichment, ESG Cap. Partners, LP v. Stratos, 828 F.3d 1023, 1038 (9th Cir. 2016) (citing

cases on both sides), even cases finding no such cause of action recognize an essentially identical

one for restitution, where (inter alia) the “defendant obtained a benefit from the plaintiff by fraud,

duress, conversion, or similar conduct,” Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350, 1370

(Cal. Ct. App. 2010). Defendants obtained such a benefit here. Defendants’ arguments as to

Virginia and Illinois law rely on their incorrect contentions that no legal violations have been

alleged, and so fail. (Defendant also cites no authority for the proposition that it did not enrich

itself at Plaintiff’s “expense or loss” given Plaintiffs’ lost privacy.) Finally, the New York claim

is not preempted by or duplicative of the right of publicity claim, given the allegations in the

Complaint. See, e.g., Dkt. 116 at ¶195 (harvested biometrics were an unjustly obtained benefit).

XV.    Plaintiffs State a Claim for Declaratory Judgment or Injunctive Relief.

       Defendants’ attacks on Plaintiffs’ claims for declaratory judgment and injunctive relief rest

wholly on its incorrect contention that Plaintiffs fail to state a claim, and so should be rejected.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motion to dismiss in its

entirety. To the extent the Court grants any portion of the motion, Plaintiffs respectfully request

that the denial be without prejudice and with leave to replead.



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                                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE
      I, Scott R. Drury, an attorney, hereby certify that, on July 9, 2021, I filed the foregoing
document using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                      /s/ Scott R. Drury
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